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Anited States Court of Federal Clans

No, 18-1200 L
Filed: August 24, 2018

 

 

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CHRIS JAYE, ) FILED
)
Plaintiff, ) AUG 24. 2018
) U.S. COURT OF
v. ) FEDERAL CLAIMS
)
THE UNITED STATES, )
)
Defendant. )
)
ORDER

On August 8, 2018, plaintiff Chris Jaye, proceeding pro se, filed a complaint with this
Court. In her complaint, plaintiff appears to seek review of alleged wrongs by state actors
perpetrating a plethora of acts against her. Plaintiffs complaint asks the Court of Federal Claims
to “make void all rulings involving all takings which have been given benefit by the United
States,” among other requests pertaining to her allegations including asking this Court to “order
sanctions sought against counsel.” Complaint (hereinafter “Compl.”) at 30-33.

This Court’s authority to hear cases is primarily set forth by the Tucker Act, which grants
the Court of Federal Claims subject-matter jurisdiction over claims brought against the United
States that are grounded on a money-mandating source of law and do not sound in tort. 28
U.S.C. § 1491(a)(1). Rule 12(h)(3) of the Rules of the Court of Federal Claims (“RCFC”) states
that “[i]f the court determines at any time that it lacks subject-matter jurisdiction, the court must
dismiss the action.” RCFC 12(h)(3). In the present case, plaintiff alleges many different
violations against the United States. While plaintiff claims that “takings” were committed
against her by federal officials, plaintiff's complaint lacks any factual basis for a taking.
Additionally, plaintiff states that this action is “NOT AN APPEAL.” Compl. at 4. However,
plaintiff's argument depends on her assertion that federal courts previously upheld allegedly void
judgments made by state courts. See generally, Compl. Therefore, plaintiffs complaint is, in
essence, an appeal. It is well settled that this Court has no jurisdiction to entertain appeals of
state court judgments. Potter v. United States, 108 Fed. Cl. 544, 548 (2013) (“This Court, like
all lower federal courts, lacks authority to review a state court’s judgments, nor does it have the
authority to remedy injuries that are caused by a state court’s order.”). Upon sua sponte review,
this Court finds that plaintiff's allegations do not give rise to any cause of action for which this

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Court has subject-matter jurisdiction. This Court has no authority to decide plaintiff's case, and
therefore must dismiss the complaint pursuant to RCFC 12(h)(3).

Plaintiff's complaint is DISMISSED, sua sponte, pursuant to RCFC 12(h)(3). The Clerk
of Court is hereby directed to take the necessary steps to dismiss this matter.

ZLdbkh

Loren A. Smith
Senior Judge

IT ISSO ORDERED.

 
